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Exhibit A
                                      MONTANA
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                             OF
           MONTANA
                         VOLUME I
                           Part I
          1974 Cumulative Pocket Supplement


                           Containing
 THE 1972 CONSTITUTION OF THE STATE OF MONTANA AND
   AMENDMENTS TO PROVISIONS AND NEW PROVISIONS
    APPROVED SINCE PUBLICATION OF REPLACEMENT
     VOLUME 1 (PART 1) OF THE 1947 REVISED CODES

 ANNOTATIONS SUPPLEMENTING REPLACEMENT VOLUME 1
       (PART 1) THROUGH VOLUME 518, PACIFIC
               REPORTER (2ND SERIES)

                              AND

      PARALLEL REFERENCE TABLES SUPPLEMENTING
           REPLACEMENT VOLUME 1 (PART 1)


                             Edited by
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    10-1300                 CHILDREN AND CHILD WELFARE

    10-1315.   Responsibility of providing protective services.
    10-1316.   [Transferred from Chapter 5.]
    10-1317.   License required.
    10-1318.   Issuance of license-autho1·ity of issuing agency.
    10-1319.   [Transferred from Chapter 5.]
    10-1320.   Payment for board, clothing, personal needs, and 1·oom of dependent and neg-
                 lected child1·en-reimbUl'sement by county.
    10-1321.   Recovery from parents-division between state and county.
    10-1322.   Punishment of parents and other adults.

        10-1300. Declaration of policy. It is hereby declared to be the policy
    of the state of Montana:
        (1) to ensure that all youth are afforded an adequate physical and
    emotional environment to promote normal development;
        (2) to compel in proper cases the parent or guardian of a youth to
    perform the moral and legal duty owed to the youth;
        (3) to achieve these purposes in a family environment whenever pos-
    sible; and
        ( 4) to preserve the unity and welfare of the family whenever possible.
      History: En. 10-1300 by Sec. 1, Ch. 328,   laws relating to abused, neglected and de-
    L. 1974.                                     pendent children or youth; and repealing
                                                 sections 10-501 through 10-519, R. C. M.
      Title of Act                               1947.
      An act for the general revision of the

        10-1301. Definitions. (1) "Child" or "youth," for purposes of this
    act, means any person under eighteen (18) years of age.
        (2) "Abuse" or "neglect" means:
        (a) The commission or omission of any act or acts which materially
    affect the normal physical or emotional development of a youth, any ex-
    cessive physical injury, sexual assault or failure to thrive, taking into
    account the age and medical history of the youth, shall be presumptive of
    "material affect" and nonaccidental; or
        (b) The commission or omission of any act or acts by any person in
    the status of parent, guardian or custodian who thereby and by reason of
    physical or mental incapacity or other cause, refuses, or with state and
    private aid and assistance is unable to discharge the duties and responsi-
    bilities for proper and necessary subsistence, education, medical or any
    other care necessary for his physical, moral and emotional well-being.
        (3) "Dependent youth" means a youth who is abandoned, dependent
    upon the public for support, and who is destitute or is without parents or
    guardian or under the care and supervision of a suitable adult or who has no
    proper guidance to provide for his necessary physical, moral and emotional
    well-being. A child may be considered dependent and legal custody trans-
    ferred to a licensed agency if the parent or parents voluntarily relinquish
    custody of said child.
         ( 4) "Youth in need of care" means a youth who is dependent or is
    suffering from abuse or neglect within the meaning of this act.
      History: En. 10-1301 by Sec. 2, Ch. 328,
    L. 1974.
                           DECISIONS UNDER FORMER LAW
      Fitness of Parents                      of medical care for her children, threats
      Evidence of mother's use of welfare     to kill the children and other failures to
    funds to supply her alcoholic needs, lack make proper provision for the children,
                                             270
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                 ABUSED, NEGLECTED AND DEPENDENT YOUTH                           10-1304
 warranted a finding that the children were    parent. Application of Hendrickson, -
 neglected and the entry of an order com-      M - , 496 P 2d 1115.
 mitting them to custody of the state. In        Minor children were dependent and neg-
 re Corneliusen, - M - , 494 P 2d 908.         lected within meaning of the statutory
    A child was properly found dependent       definition, notwithstanding possible fitness
 and neglected based on mother's declara-      of natural mother for their custody, where
 tion in waiver and the consent to adoption    she had acquiesced and permitted them to
 that she could not provide care and guid-     remain in care and custody of welfare
 ance and could not perform duties of a        department. In re Bad Yellow Hair, -
                                               M - , 509 P 2d 9, 12.

     10-1302. Jurisdiction and venue. (1) In all matters arising under
 this act, the youth court shall have concurrent jurisdiction with the dis-
 trict courts over all youths who are within the state of Montana for any
 purpose, or any youth or other person subject to this act who under a
 temporary or permanent order of the court has voluntarily or involuntarily
 removed himself from the state or the jurisdiction of the court, or any
 person who is alleged to have abused, neglected or caused the dependency
 of.a youth who is in the state of Montana for any purpose.
     (2) Venue shall be determined pursuant to section 10-1207, R. C. M.
 1947.'
   History: En. 10-1302 by Sec. 3, Ch. 328,
 L. 1974.

    10-1303. Declaration of policy. It is the policy of this state to provide
 for the protection of children whose health and welfare are adversely af-
 fected and further threatened by the conduct of those responsible for their
 care and protection. It is intended that the mandatory reporting of such
 cases by professional people and other community members to the appro-
 priate authority will cause the protective services of the state to seek to
 prevent further abuses, protect and enhance the welfare of these children,
 and preserve family life wherever possible.
   History: En. Sec. 1, Ch. 178, L. 1965;      state to provide for the protection of
 amd. Sec. 1, Ch, 292, L. 1973; Sec. 10-901,   children who have had physical injury or
 R. C, M. 1947; redes, 10-1303 by Sec. 14,     willful neglect inflicted upon them and
 Ch. 328, L. 1974.                             who, in the absence of appropriate reports
                                               concerning their condition and circum-
   Amendments                                  stances, may be further threatened by the
    The 1973 amendment rewrote this sec-       conduct of those responsible for their care
 tion which read: "It is the policy of this    and protection."

     10-1304, Reports. Any physician who examines, attends or treats a
 person under the age of majority, or any nurse, teacher, social worker,
 attorney or law enforcement officer or any other person who has reason to
 believe that a child has had serious injury or injuries inflicted upon him
 or her as a result of abuse or neglect, or has been willfully neglected, shall
 report the matter promptly to the department of social and rehabilitation
 services, its local affiliate, and the county attorney of the county where the
 child resides. This report shall contain the names and addresses of the child
 and his or her parents or other persons responsible for his or her care; to
 the extent known, the child's age, the nature and extent of the child's
 injuries, including any evidence of previous injuries, and any other infor-
 mation that the maker of the report believes might be helpful in establish-
 ing the cause of the injuries or showing the willful neglect and the identity
 of person or persons responsible therefor; and the facts which led the per-
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     10-1305                  CHILDREN AND CHILD WELFARE

     son reporting to believe that the child has suffered injury or injuries, or
     willful neglect, within the meaning of this act.
       History: En. Sec. 2, Ch. 178, L. 1965;       acting in his or her official capacity"; in-
     amd. Sec. 2, Ch. 292, L. 1973; Sec. 10-902,    serted "the department of social and re-
     R. C. M. 1947; redes. 10-1304 by Sec. 14,      habilitation services, its local affiliate,
     Ch. 328, L. 1974.                              and" before "the county attorney" near
                                                    the end of the first sentence; substituted
       Amendments                                   "where the child resides" at the end of
       The 1973 amendment substituted "phy-         the first sentence for "where such exam-
     sician" at the beginning of the section        ination is macle or such child is located";
     for "licensed physician and surgeon, resi-     deleted from the end of the first sentence
     dent or intern"; substituted "any nurse,       a proviso relating to reports through the
     teacher, social worker, attorney or law        head of an institution; deleted from the
     enforcement officer or any other person"       beginning of the second sentence a clause
     in the first sentence for "any registered      requiring reduction to writing of reports
     nurse, practical nurse, any visiting nurse,    initially made verbally; and made minor
     any schoolteacher, or any social worker        changes in phraseology.

        10-1305. Action on reporting. If from said report it shall appear that
     the child suffered such injury or injuries or willful neglect, the social work-
     er shall conduct a thorough investigation into the home of the child in-
     volved and into the circumstances surrounding the injury of the child and
     into all other matters which, in the discretion of the social worker, shall be
     relevant and material to the investigation. If from the investigation it
     shall appear that the child suffered such injury or injuries or willful neglect,
     the department shall provide protective services to protect the child and
     preserve the family. The department will advise the county attorney of its
     investigation.
         'fhe investigating social worker shall also furnish a written report to the
     department of social and rehabilitation services who shall have the respon-
     sibility of maintaining a central registry on child abuse or willful neglect
     cases.
       History: En. Sec. 3, Ch. 178, L. 1965;         Amendments
     amd. Sec. 3, Ch. 292, L. 1973; Sec. 10-903,       The 1973 amendment rewrote this sec-
     R. C. M. 1947; redes. 10-1305 by Sec. 14,      tion to provide for investigation by the
     Ch. 328, L. 1974.                              social worker and protective services by
                                                    the department rather than investigation
                                                    by the county attorney.

     10-1306, 10-1307.      [Transferred from Chapter 9.]
       Compiler's Notes                             here. Because there has been no change ,
       These sections were originally numbered      in text, the sections are not reprinted
     10-904 and 10-905. Section 14, Ch. 328,        here but may be found in bound Volume
     Laws of 1974 renumbered them to appear         1, part 2, as secs. 10-904 and 10-905. •

         10-1308. Confidentiality. The case records of the department of social
     and rehabilitation services, its local affiliate, the county welfare depart-
     ment, the county attorney and the court concerning actions taken under
     this act shall be kept confidential unless the court determines that they
     should be released.
       History: '.En. 10-1308 by Sec. 4, Ch. 328,
     L. 1974.

        10-1309. Emergency protective service. Any social worker of the
     department of social and rehabilitation services, the county welfare de-
     partment, peace officer or county attorney who has reason to believe any
     youth is in immediate or apparent danger of violence or serious injury shall
                                                272
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                  ABUSED, NEGLECTED AND DEPENDENT YOUTH               10-1310

  have the authority to immediately remove the youth and place him in a
  protective facility. The department may make a request for further assist-
  ance from the law enforcement agency or take such legal action as may be
  appropriate.
     A petition shall be filed within forty-eight (48) hours of emergency
  placement of a child unless arrangements acceptable to the agency for the
  care of the child have been made by the parents.
     The department of social and rehabilitation services and the county
  welfare department shall comply with the judicial procedures set forth in
  section 10-1305, R. C. M. 1947.
     The department of social and rehabilitation services and the county
  welfare department shall make such necessary arrangements for the
  youth's well-being as are required prior to the court hearing.
    History: En. 10-1309 by Sec, 5, Ch. 328,
  L. 1974.

      10-1310. Petitions. (1) The county attorney shall be responsible for
  filing all petitions alleging abuse, neglect and dependency. He may require
  all state, county and municipal agencies, including law enforcement agen-
  cies, to conduct such investigations and furnish such reports as may be
  necessary.
       (2) Such petitions shall be given preference by the court in setting
  hearing dates.                   •                 -
       (3) A petition alleging abuse, neglect or dependency, is a civil action
  brought in the name of the state of Montana. The Rules of Civil Procedure
  shall apply except as herein modified. Proceedings under a petition shall
  not be a bar to criminal prosecution.
       ( 4) The parents or parent, guardian or other person or agency having
  legal custody of the youth named in the petition, if residing in the state,
  shall be served personally with a copy of the petition and summons at
  least five ( 5) days prior to the date set for hearing; if such person or
  agency resides out of state or is not found within the state, the Rules of
  Civil Procedure relating to service of process in such cases shall apply.
       (5) In the event service cannot be made upon the parents or parent,
  guardian or other person or agency having legal custody, the court shall
  appoint an attorney to represent the unavailable party where in the opinion
  of the court the interests of justice require.          •
       (6) Where a parent of the child is a minor notice shall be given to the
  minor parent's guardian and if there is no guardian the court shall ap-
  point one.
       (7) Any person interested in any cause under this act shall have the
  right to appear.
       (8) Except where the proceeding is instituted or commenced by a
  representative of social and rehabilitation services, a citation shall be
  issued and served upon a representative of social and rehabilitation services
  prior to the court hearing.
       (9) The petition shall:
       (a) state the nature of the alleged abuse, neglect or dependency;
       (b) state the full name, age and address of the youth, his parents or
  guardian or person having legal custody of the youth;
                                           273
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     10-1311                 CHILDREN AND CHILD WELFARE

         (c) state the names, addresses and relationship to the youth and all
     persons who are necessary parties to the action.
        (10) The petition may ask for the following relief:
         (a) temporary investigative authority and protective services;
         (b) temporary legal custody;
         (c) limited legal custody;
         ( d) permanent legal custody, including the right to consent to adop-
     tion;
         (e) appointment of guardian ad litem;
         (f) any combination of the above or such other relief as may be re-
     quired for the best interest of the youth.
         (11) The petition may be modified for different relief at any time
     within the discretion of the court.
         (12) The court may at any time on its own motion, or the motion of
     any party, appoint a guardian ad litem for the youth, or counsel for any
     indigent party.
         (13) This section shall not apply to a petition for temporary investi-
     gative authority and protective services.
       History: En, 10-1310 by Sec. 6, Oh. 328,
     L.1974.
                               DECISIONS UNDER FORMER LAW
        Jurisdiction Based on Service              of the children. Bonser v. County o:f'
        District court had jurisdiction over peti- Cascade, - M - , 507 P 2d 1064.
     tion by state seeking permanent custody
     and right to consent to adoption o:f' three     Residence
     children despite the facts that proper          Where child was taken from Indian
     citation was not issued or served on the      reservation ·and abandoned •outside the
     parents, where father o:f' one of the chil-   reservation, district court for the county
     dren had consented to the proceeding, where the child was found could take juris•
     father of other two children was deceased,    diction and provide for the child despite
     mother who was represented by counsel         the fact that the mother remained on
     appeared at the hearing voluntarily and       the reservation and committed no acts of
     the hearing on the petition in question was   neglect outside the reservation. In re
     preceded by a series o:f' hearings and post-  Cantrell, - M - , 495 P 2d 179.
     ponements regarding temporary custody


        10-1311. Petition and order for temporary investigative authority and
     protective services. (1) In cases where it appears that a youth is
     abused or neglected or is in danger of being abused or neglected the
     county attorney may file a petition for temporary investigative authority
     and protective services.
         (2) A petition for temporary investigative authority and protective
     services shall state the specific authority requested and the facts establish-
     ing probable cause that a youth is abused or neglected or is in danger of
     being abused or neglected.
         (3) The petition for temporary investigative authority and protective
     services shall be supported by an affidavit signed by the county attorney
     or a social and rehabilitation services report stating in detail the facts upon
     which the request is based.
         ( 4) Upon the filing of a petition for temporary investigative authority
     and protective services, the court may issue an order:
                                               274
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                 ABUSED, NEGLECTED AND DEPENDENT YOUTH                 10-1313

     (a) granting such relief as may be required for the immediate pro-
 tection of the youth.
     (b) The order shall be served by a peace officer or a representative of
 the state social and rehabilitation services on the person or persons named
 therein.
     (c) The order shall require the person served to immediately comply
 with the terms thereof or upon failure to so comply to appear before the
 court issuing the order on the date specified and show cause why he has
 not complied with the order. Except as otherwise provided herein, the
 Rules of Civil Procedure shall apply.
     ( d) Upon a failure to comply or show cause the court may hold the
 person in contempt or place temporary legal custody of the youth with the
 state social and rehabilitation services until further order.
     (e) The court may grant the following kinds of relief:
     (i) right of entry by peace officer or state social and rehabilitation
 services worker;
     (ii) medical and psychological evaluation of youth or parents, guard-
 ians, or person having legal custody;
     (iii) require the youth, parents, guardians or person having legal
 custody to receive counseling services;
     (iv) place the youth in temporary medical facility or facility for pro-
 tection of the youth ;
     (v) require the parents, guardian or other person having custody to
 furnish such services as the court may designate;
     (vi) such other temporary disposition as may be required in the best
 interest of the youth.
   History: En. 10-1311 by Sec. 7, Oh. 328,
 L.1974.

     10-1312. Hearing. (1) In a hearing on a petition under section 10-
 1310, R. C. M. 1947, the court shall determine whether said youth is an
 abused, neglected or dependent child, and ascertain, as far as possible, the
 cause thereof.
     (2) The court shall hear evidence regarding the residence of the child,
 whereabouts of the parents, guardian or nearest adult relative, the financial
 ability of any such parents or parent, to pay the cost of care of the child,
 whether or how long the child has been maintained in whole or in part
 by public or private charity, and may take into consideration the report of
 the county welfare department filed with the clerk of the court, pursuant
 to section 10-1313, R. C. M. 1947.
     (3) In all civil and criminal proceedings relating to abuse, neglect or
 dependency the doctor-patient privilege and husband-wife privilege shall
 not apply to the extent any testimony relates to such matters.
    History: En. 10-1312 by Sec. 8, Oh. 328,
  L.1974.

     10-1313. Investigation of parents' :financial ability. Whenever any
  petition is filed with the clerk of the district court alleging abuse, neglect
  or dependency, the clerk of such court shall immediately deliver to the
  county welfare department of the county in which the petition is filed, a
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    10-1314                . CHILDREN AND CHILD WELFARE

    copy of the petition with a notation thereon giving the day and time fixed
    by the court for hearing the petition. Upon receipt of such copy of petition
    the county welfare department shall make an investigation for the purpose
    of ascertaining whether the parent or parents, if any, of the child live
    within the county and the financial ability of such parent or parents, if
    any, to pay the cost of supporting the child in a foster home, and shall
    file with the clerk of such court, before the time fixed for the hearing, a
    written report of such investigation. If, upon hearing, the court finds and
    determines that the child has parents, or a parent, who is financially able
    to pay a part or the whole of such cost, and the child is ordered placed
    in a foster home, the court shall make an order requiring such parents,
    or parent, to pay such amount as the court may deem proper. A copy of
    the written report shall be provided to all parties to the proceeding
    before the time filed for hearing.
        If the child is placed in a foster home, the state department of social
    and rehabilitation services shall pay one-half (½) of the cost thereof, and
    the county in which such child has residence shall pay the other one-half
     (½) thereof. Any amount collected from a parent or parents, when a child
    is placed in a foster home, shall be transmitted to the state department of
    social and rehabilitation services. The department shall then pay to the
    county one-half (½) of the amount so collected.
      History: En. 10-1313 by Sec. 9, Ch. 328,
    L. 1974.

       10-1314. Judgment. (1) If a youth is found to be abused, neglected,
    or dependent, the court may enter its judgment making any of the follow-
    ing dispositions to protect the welfare of the youth:
        (a) permit the youth to remain with his parents or guardian subject
    to those conditions and limitations the court may prescribe;
        (b) transfer legal custody to any of the following :
        (i) department of social and rehabilitation services;   ,
        (ii) a child-placing agency willing and able to' assume responsibility
    for the education, care and maintenance of the youth and which is licensed
    or otherwise authorized by law to receive and provide care of the youth; or
        (iii) a relative or other individual who, after study by a social service
    agency designated by the court, is found by the court to be qualified to
    receive and care for the youth ;
        (c) order any party to the action to do what is necessary to give
    effect to the final disposition, including undertaking medical and psycho-
    logical evaluations, treatment and counseling;
        (d) order such further care and treatment as the court may deem in
    the best interest of the youth.
        (2) Whenever the court vests legal custody in any agency, institution
    or department it shall transmit with the dispositional judgment copies of
    any medical report, and such other clinical, predisposition or other reports
    and information as may be pertinent to the care and treatment of the
    youth.
        (3) Any youth found to be abused, neglected or dependent may be
    committed to the Montana children's center, and if the center is unable to
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                        ABUSED, NEGLECTED AND DEPENDENT YOUTH                                               10-1315

  receive the child, or if, for any other reason, it appears to be in the best
  interest of the child, the court may make such other disposition of the
  child as the court deems best for his social and physical welfare. The form
  of commitment shall be as follows:
                             ORDER OF COMMITMENT
      State of Montana, County of ...............:.... ss:
      In the District Court for the ················"··· Judicial District.
      On the .......:.._ day of ........, 19 .... ···-··-········•·· minor of this county, was
  charged on the petition of .................... of county attorney of ....................
  county, with being an abused or neglected or dependent child. Upon due
  proof I find that it is for the best interests of the child tbat he be taken
  from the custody of his parents, guardian or other person having custody
  of him .
    . The names, addresses and occupations of the parents are:
                   Name                 .Address                     Occupation


  The child's guardian is ............................................................................ ·············-····
  The child is in the custody of .................................................................................. .
  It is ordered that .................... be committed to .................... until discharged
  as provided by law.
      Witness my hand this ............ day of .................... A.D. 19.... .

                                                                                       Judge
      ( 4) Transfer of legal custody of a child shall include guardianship of
  any assets or estate of the child, unless otherwise specified by the court.
      (5) Except in cases in which the court permanently terminates all
  parental rights or rights of the guardian of the youth, the court shall
  retain jurisdiction over the case and may subsequently modify any dispo-
  sition ordered pursuant to this section.
    History: En. 10•1314 by Sec. 10, Oh. 328,
  L. 1974..
                            DECISIONS UNDER FORMER LAW
    Child's Best Interests                    by unduo influence does not necessarily
    Once a child has been found dependent     invalidate a judgment awarding perma•
  and neglected, the primary concern is for   nent custody to the welfare department
  the child's best interests and welfare, not with the power to consent to adoption. In
  that of the mother, and the fact that the   re Bad Yellow Hair, - M - , 509 P 2d
  mother's consent may have been obtained     9, 12.

      10-1315. Responsibility of providing protective services. The depart-
  ment of social and rehabilitation services and the county welfare depart-
  ment shall have the primary responsibility to provide the protective serv-
  ices authorized by this act and shall have the authority pursuant to this
  act to take temporary, limited or permanent custody of a child when or-
  dered to do so by the court, including the right to give consent to adoption.
     History: En. 10·1315 by Sec. 11, Oh. 328,
  L. 1974.

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      10-1316                  CHILDREN AND CHILD WELFARE

      10-1316.    [Transferred from Chapter 5.]
        Compiler's Notes                             there has been no change in text, the
        This section was originally numbered         section is not reprinted here but may be
      10-520. Section 14, Ch. 328, Laws of 1974      found in bound Volume 1, part 2, as see.
      renumbered it to appear here. Because          10-520.

         10-1317. License required. No person shall maintain .or operate a foster
      or boarding home for any child or children within the meaning of this act
      without first securing a license in writing from the state department of
      social and rehabilitation services. No fee shall be charged for such license.
       History: En. Sec. 2, Ch. 178, L. 1947;          Amendments
     amd. Sec. 47, Ch. 121, L. 1974; Sec. 10-521,      The 1974 amendment substituted "state
     R. C. M. 1947; redes. 10-1317 by Sec. 14,       uepartment of social and rehabilitation
     Ch. 328, L. 1974.                               services" for "state department of public
                                                     welfare."

         10-1318. Issuance of license~authority of issuing agency. The state
     department of social and rehabilitation services is hereby authorized to
     issue licenses to persons conducting boarding or foster homes and to
     prescribe the conditions upon which such licenses shall be issued, and
     making such rules and regulations as it may deem advisable for the opera-
     tion and regulation of foster and boarding homes for minor children con-
     sistent with the welfare of such children. Such licensing agency shall have
     the power and authority to inspect all such licensed foster and boarding
     homes through its duly authorized representatives and to cancel licenses
     theretofore issued for the failure to observe such rules· and regulations.
     The person operating such homes shall give to such representative such
     information as may be required and afford them every reasonable facility
     for observing the operation of such homes.
       History: En. Sec. 3, Ch. 178, L. 1947; state department of social and rehabilita-
      amd. Sec. 47, Ch. 121, L. 1974; Sec. 10-522,   tion serviees' 1 for "The di vision of child
      R. C. M. 1947; redes. 10-1318 by Sec. 14,      welfare services of the state department
      Ch. 328, L. 1974.                              of public welfare" a t the beginning of
                                                     the section.
        Amendments
        The 1974 amendment substituted "The

      10-1319.    [Transferred from Chapter 5.]
        Compiler's Notes                             there has been no change in text, the .sec-
        This section was originally numbered         tion is not reprinted here but may be
      10-523. Section 14, Ch. 328, Laws of 1974      found in bound Volume 1, part 2, as see.
      renumbered it to appear here. Beeause          10-523.

         10-1320. Payment for board, clothing, personal needs, and room of
      dependent and neglected children-reimbursement by county. Whenever
      agreements are entered into by the state department of social and rehabili-
      tation services for placing dependent and neglected children in approved
      family foster homes or licensed private institutions, it shall be the duty of
      the state department to pay by its check or draft, each month, from any
      funds appropriated for that purpose, the entire amount agreed upon for
      board, clothing, personal needs, and room of such children.
          On or before the twentieth of each month the state department shall
      present a claim to the county of residence of such children for one-half
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                   ABUSED, NEGLECTED AND DEPENDENT YOUTH                         10-1322

   the payments so made during the month. The county must make reimburse-
   ment to the state department within twenty days after such claim is pre-
   sented.
      History: En. Sec. 1, Ch. 48, L. 1949;        Amendments
   amd. Sec. 1, Ch, 194, L. 1965; amd. Sec.        The 1974 amendment substituted "state
   1, Ch. 264, L. 1971; amd. Sec. 48, Oh. 121,   department of social and rehabilitation
   L. 1974; Sec. 10-524, R. 0. M. 1947; redes.   services" for "department of public wel-
   10-1320 by Sec. 14, Oh. 328, L. 1974.         fare" in the first paragraph.

       10-1321. Recove,ry from parents-division between state and county.
   In the event any recovery is made from the parent or parents of children
   for whom board, clothing, personal needs and room has been paid by the
   state and county any amount so recovered shall be divided equally between
   the state department and the county of residence of such child or children.
     History: En. Sec. 2, Ch. 48, L. 1949;         Amendments
   amd. Sec. 1, Oh. 264, L. 1971; Sec, 10-525,     The 1971 amendment inserted "clothing,
   R. C. M. 1947; redes. 10-1321 by Sec, 14,     personal needs.''
   Oh. 328, L. 1974.

      10-1322. Punishment of parents and other adults. (1) If the evi-
   dence indicates violation of the Criminal Code, it shall be the responsibility
   of the county attorney to file appropriate charges against the alleged of-
   fender.
       (2) District court shall have original jurisdiction under this section.
     History: En. 10-1322 by Sec. 12, Oh. 328,     Repealing Clause
   L. 1974.                                        Section 13 of Ch. 328, Laws 1974 read
                                                 "Sections 10-501 through 10-519, R. C. M.
                                                 1947, are repealed."




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  REVISED CODES
                            OF
           MONTANA
                       VOLUME I
                         Part I
             1977 Cumulative Supplement


                          Containing
 THE 1972 CONSTITUTION OF THE STATE OF MONTANA AND
   AMENDMENTS TO PROVISIONS AND NEW PROVISIONS
    APPROVED SINCE PUBLICATION OF REPLACEMENT
     VOLUME 1 (PART 1) OF THE 1947 REVISED CODES

 ANNOTATIONS SUPPLEMENTING REPLACEMENT VOLUME 1
       (PART 1) THROUGH VOLUME 557, PACIFIC
               REPORTER (2ND SERIES)

                            AND

     PARALLEL REFERENCE TABLES SUPPLEMENTING
          REPLACEMENT VOLUME 1 (PART 1)




                           Edited by
             THE PUBLISHERS' EDITORIAL STAFF



                THE ALLEN SMITH COMPANY
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se 1:20-cv-00052-SPW Document 319-1 Filed 02/06/24 Page 14 of
                  ABUSED, NEGLECTED AND DEPENDENT YOUTH                            10-1300
    History: Eu, Sec. 10, Oh, 427, L. 1971;        Amendments
  Sec. 10-1110, R. C. M. 1947; redes. 10-1251      The 1977 amendment deleted "regula-
  by Sec. 51, Oh. 329, L. 1974; amd, Sec, 16,   tions" before "and standards"; and made
  Oh. 100, L. 1977,                             minor changes in phraseology.

     10-1252. Federal assistance. 'l'he department of institutions may make
  application for and receive federal-aid money or other assistance which
  might become available for programs in the nature of the one created by
  10-1242 through 10-1252.
    History: En. Sec, 11, Oh. 427, L. 1971;       Separability Clause
  Sec. 10-1111, R. C. M. 1947; redes. 10-1252       Section 12 of Ch. 427, Laws 1971 read
  by Sec. 52, Oh. 329, L. 1974; amd. Sec. 17,   "It is the intent of the legislative assem-
  Oh. 100, L, 1977.                             bly that if a part of this act is invalid,
                                                all valid parts that are severable from the
    Amendments                                  invalid part remain in effect. If a part of
    The 1977 amendment made minor changes       this act is invalid in one (1) or more of
  in phraseology.                               it s applications, the part remains in effect
                                                in all valid applications that are severable
                                                from the invalid applications."


        CHAPTER 13-ABUSED, NEGLECTED AND DEPENDENT CHILDREN
                                          OR YOUTH
  Section
  10-1300.    Declaration of policy.
  10-1301.    Definitions.
  10-1302.    Jurisdiction and venue.
  10-1303.    Declaration of policy.
  10-1304.    Reports.
  10-1305.    Action on reporting.
  10-1306, 10-1307, [Transferred from Chapter 9.]
  10-1308.    Confidentiality.
  10-1309.    Emergency protective service.
  10-1310.    Petitions.
  10-1311.    Petition for temporary investigative authority and protective service£.
  10-1312.    Hearing.
  10-1313.    Investigation of parents' financial ability.
  10-1314.    Judgment.
  10-1315.    Responsibility of providing protective services.
  10-1316.    [Transferred from Chapter 5.]
  10-1317. License required.
  10-1318.    Issuance of license-authority of issuing agency.
  10-1319.    [Transferred from Chapter 5.]
  10-1320.    Payment for support of dependent and neglected children-reimbursement
                by county.
  10-1321.    Recovery from parents-division between state and county.
  10-1322.    Punishment of parents and other adults.

      10-1300. Declaration of policy. It is hereby declared to be the policy
  of the state of Montana:
      (1) to ensure that all youth are afforded an adequate physical and
  emotional environment to promote normal development;
      (2) to compel in proper cases the parent or guardian of a youth to
  perform the moral and legal duty owed to the youth;
      (3) to achieve these purposes in a family environment whenever pos-
  sible; and
      ( 4) to preserve the unity and welfare of the family whenever possible.
    History: En. 10-1300 by See, 1, Ch. 328,      Title of Act
  L. 1974.                                        .An act for the general revision of the
                                            451
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    10-1301                  CHILDREN AND CHILD WELFARE

    laws relating to abused, neglected and de-   sections 10-501 through 10-519, R. C. M.
    pendent children or youth; and repealing     1947.

        10-1301. Definitions. ( 1) "Child" or "youth", for purposes of this
    act, means any person under 18 years of age.
        (2) "Abuse" or "neglect" means:
        (a) the commission or omission of any act or acts wbich matrrially
    affect the normal physical or emotional development of a youth. Any
    excessive physical injury, sexual assault, or failure to thrive, taking into
    account the age and medical history of the youth, shall be presumed to be
    nonaccidental and to "materially affeet" the normal development of the
    youth.
        (b) the commission or omission of any act or acts by any person in
    the status of parent, guardian, or custodian who thereby and by reason of
    physical or mental incapacity or other cause refuses or, with state and
    private aid and assistance is unable, to discharge the duties and responsi-
    bilities for proper and necessary subsistence, education, medical, or any
    other care necessary for the youth's physical, moral, and emotional well-
    being.
        (3) "Dependent youth" means a youth who is abandoned, dependent
    upon the public for support, destitute, without parents or guardian or under
    the care and supervision of a suitable adult, or who has no proper guidance
    to provide for his necessary physical, moral, and emotional well-being. A
    child may be considered dependent and legal custody transferred to a
    licensed agency if the parent or parents voluntarily relinquish custody of
    the child.
        ( 4) "Youth in need of care" means a youth who is dependent or 1s
    suffering from abuse or neglect within the meaning of this act.
      History: En. 10-1301 by Sec. 2, Ch. 328,     Constitutionality
    L. 1974; amd. Sec. 18, Cll. 100, L. 1977.      This section is not unconstitutionally
                                                 vague, ambiguous or uncertain. Matter of
       Amendments                                Burgdorf, - M - , 551 P 2d 656.
       The 1977 amendment substituted "pre-
    sumed to be nonaccidental and to 'mate-        Neglect
    rially affect' the normal development of       Children who have become mentally re-
    the youth" at the end of subdivision (2)     tarded due to emotional deprivation and
    (a) for "presumptive of 'material affect'    lack of environmental stimulation are ne-
    and nonaccidental" ; and made minor          glected children within the meaning of
    changes in phraseology, punctuation and      the law. In re Olson, - M - , 524 P 2d
    style.                                       779.

                            DECISIONS UNDER FORMER LAW
       Fitness of Parents                      that she could not provide care and guid-
       Evidence of mother's use of welfare     ance and could not perform duties of a
    funds to supply her alcoholic needs, lack parent. Application of Hendrickson, 159
    of medical care for her children, threats  M 217, 496 P 2d 1115.         •
    to kill the children and other failures to   Minor children were dependent and neg-
    make proper provision for the children, lected within meaning of the statutory
    warranted a finding that the children were definition, notwithstanding possible fitness
    neglected and the entry of an order com-   of natural mother for their custody, where
    mitting them to custody of the state. In   she had acquiesced and permitted them to
    re Corneliusen, 159 M 6, 494 P 2d 908.     remain in care and custody of welfare
       A child was properly found dependent    department. In re Bad Yellow Hair, -
    and neglected based on mother's declara-   M - , 509 P 2d 9, 12.
    tion in waiver and the consent to adoption

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              ABUSED, NEGLECTED AND DEPENDENT YOUTH
                                                            16 of
                                                      10-1304

      10-1302. Jurisdiction and venue. (1) In all matters arising under
  this act, the youth court shall have concurrent jurisdiction with the dis-
  trict courts over all youths who are within the state of Montana for any
  purpose, or any youth or other person subject to this act who under a
  temporary or permanent order of the court has voluntarily or involuntarily
  removed himself from the state or the jurisdiction of the court, or any
  person who is alleged to have abused, neglected or caused the dependency
  of a youth who is in the state of Montana for any purpose.
      (2) Venue shall be determined pursuant to section 10-1207, R. C. M.
  1947.
    History: En. 10-1302 by Sec. 3, Ch. 328,
  L. 1974.

     10-1303. Declaration of policy. It is the policy of this state to provide
  for the protection of children whose health and welfare are adversely af-
  fected and further threatened by the conduct of those responsible for their
  care and protection. It is intended that the mandatory reporting of such
  cases by professional people and other community members to the appro-
  priate authority will cause the protective services of the state to seek to
  prevent further abuses, protect and enhance the welfare of these children,
  and preserve family life wherever possible.
    History: En. Sec. 1, Ch. 178, L. 1965;      state to provide for the protection of
  amd. Sec. 1, Ch. 292, L, 1973; Sec. 10-901,   children who have had physical injury or
  R. C. M. 1947; redes. 10-1303 by Sec. 14,     willful neglect inflicted upon them and
  Ch, 328, L. 1974.                             who, in the absence of appropriate reports
                                                concerning their condition and circum-
    Amendments                                  stances, may be further threatened by the
     The 1973 amendment rewrote this sec-       conduct of those responsible for their care
  tion which read: "It is the policy of this    and protection."

      10-1304. Reports. Any physician who examines, attends or treats a
  person under the age of majority, or any nurse, teacher, social worker,
  attorney or law enforcement officer or any other person who has reason to
  believe that a child has had serious injury or injuries inflicted upon him
  or her as a result of abuse or neglect, or has been willfully neglected, shall
  report the matter promptly to the department of social and rehabilitation
  services, its local affiliate, and the county attorney of the county where the
  child resides. This report shall contain the names and addresses of the child
  and his or her parents or other persons responsible for his or her care; to
  the extent known, the child's age, the nature and extent of the child's
  injuries, including any evidence of previous injuries, and any other infor-
  mation that the maker of the report believes might be helpful in establish-
  ing the cause of the injuries or showing the willful neglect and the identity
  of person or persons responsible therefor; and the facts which led the per-
  son reporting to believe that the child has suffered injury or injuries, or
  willful neglect, within the meaning of this act.
    History: En. Sec. 2, Ch. 178, L. 1965;      sician" at the beginning of the section
  amd. Sec. 2, Ch. 292, L. 1973; Sec. 10-902,   for "licensed physician and surgeon, resi-
  R. C. M. 1947; redes. 10-1304 by Sec. 14,     dent or intern"; substituted "any nurse,
  Ch. 328, L. 1974.                             teacher, social worker, attorney or law
                                                enforcement officer or any other person"
    Amendments                                  in the first sentence for "any registered
    The 1973 amendment substituted "phy-        nurse, practical nurse, any visiting nurse,
                                            453
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     10-1305          Document 319-1 Filed 02/06/24 Page 17 of
                     CHILDREN AND CHILD WELFARE

    any schoolteacher, or any social worker          ination is made or such child is located";
    acting in his or her official capacity"; in-     deleted from the end of the first sentence
    serted "the department of social and re-         a proviso relating t o reports through the
    habilitation services, its local affiliate,      head of an institution; deleted from the
    and" before "the county attorney" near           beginning of the second sentence a clause
    the end of the first sentence; substituted       requiring reduction to writing of reports
    "where the child resides" at the end of          initially made verbally; and made minor
    the first sentence for "where such exam-         changes in phraseology.

       10-1305. Action on reporting. If from said report it shall appear that
    the child suffered such injury or injuries or willful neglect, the social work-
    er shall conduct a thorough investigation into the home of the child in-
    volved and into the circumstances surrounding the injury of the child and
    into all other matters which, in the discretion of the social worker, shall be
    relevant and material to the investigation. If from the investigation it
    shall appear that the child suffered such injury or injuries or willful neglect,
    the department shall provide protective services to protect the child and
    preserve the family. The department will advise the county attorney of its
    investigation.
        The investigating social worker shall also furnish a written report to the
    department of social and rehabilitation services who shall have the respon-
    sibility of maintaining a central registry on child abuse or willful neglect
    cases.
      History: En, Sec. 8, Ch. 178, L. 1966;            Amendments
    amd. Sec. 8, Ch. 292, L. 1973; Sec. 10-903,         The 1973 amendment rewrote this sec-
    R. C. M. 1947; redes. 10-1306 by Sec. 14,        tion to provide for investigation by the
    Ch. 328, L. 1974.                 ~              social worker and protective services by
                                                     the department rather than investigation
                                                     by the county attorney.

     10-1306, 10-1307.     [Transferred from Chapter 9.]
       Compiler's Notes                              here. Because there has been no change
       These sections were originally numbered       in text, the sections are not reprinted
     10-904 and 10-905. Section 14, Ch. 328,         here but may be found in bound Volume
     Laws of 1974 renumbered them to appear          1, part 2, as sees. 10-904 and 10-905.

         10-1308. Confidentiality. The case records of the department of social
     and rehabilitation services, its local affiliate, the county welfare depart-
     ment, the county attorney and the court concerning actions taken under
     this act shall be kept confidential unless the court determines that they
     should be released.
       History: En. 10-1308 by Sec. 4, Ch. 328,
     L. 1974.
                             DECISIONS UNDER FORMER LAW
       Exception to Confidentiality              dence at custody hearing fo:r dependent
       Confidentiality of privileged communi- and neglected children. Matter of Declar-
     cations does not prevent disclo sure of in• ing Jones and Peterson Children, - M
     formation obtained by school nurse, pubHc   - - , 539 P 2d 1193.
     nurse, and social welfare workers as evi-

        10-1309. Emergency protective service. (1) Any social worker of the
     departm0nt of social and rehabilitation services, the county welfare depart-
     ment, a peace officer, or county attorney who has reason to believe any
     youth is in immediate or apparent danger of violence or serious injury may
                                                   454
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                  ABUSED, NEGLECTED AND DEPENDENT YOUTH                      10-1310

  immediately remove the youth and place him in a protective facility. The
  department may make a request for further assistance from the law enforce-
  ment agency or take such legal action as may be appropriate.
      (2) A petition shall be filed within 48 hours of emergency placement
  of a child unless arrangements acceptable to the agency for the care of the
  child have been made by the parents.
      (3) The department of social and rehabilitation services and the county
  welfare department shall comply with the procedure set forth in 10-1305.
      ( 4) The department of social and rehabilitation services and the
  county welfare department shall make such necessary arrangements for
  the youth's well-being as are required prior to the court hearing.
    History: En. 10-1309 by Sec. 5, Ch. 328,   tion into numbered subsections; substi-
  L. 1974; amd. Sec. 19, Ch. 100, L. 1977.     tuted "procedure" for "judicial prnce-
                                               dures" in subsection (3); and made minor
    Amendments                                 changes in phraseology, punctuation and
    The 1977 amendment divided the sec-        style.


      10-1310. Petitions. (1) The county attorney shall be responsible for
  filing all petitions alleging abuse, neglect, or dependency. He may require
  all state, county, and municipal agencies, including law enforcement agen-
  cies, to conduct such investigations and furnish such reports as may be
  necessary.
       (2) Such petitions shall be given preference by the court in setting
  hearing dates.
       (3) A petition alleging abuse, neglect, or dependency is a civil action
  brought in the name of the state of Montana. The rules of civil procedure
  shall apply except as herein modified. Proceedings under a petition are not
  a bar to criminal prosecution.
       ( 4) The parents or parent, guardian, or other person or agency having
  legal custody of the youth named in the petition, if residing in the state,
  shall be served personally with a copy of the petition and summons at
  least 5 days prior to the date set for hearing. If such person or agency
  resides out of state or is not found within the state, the rules of civil
  procedure relating to service of process in such cases shall apply.
       (5) In the event service cannot be made upon the parents or parent,
  guardian, or other person or agency having legal custody, the court shall
  appoint an attorney to represent the unavailable party where in the opinion
  of the court the interests of justice require.
       (6) If a parent of the child is a minor, notice shall be given to the
  minor parent's parents or guardian, and if there is no guardian the court
  shall appoint one.
       (7) Any person interested in any cause under this act has the right
  to appear.
       (8) Except where the proceeding is instituted or commenced by a
  representative of the department of social and rehabilitation services, a
  citation shall be issued and served upon a rcpresrntative of the depart-
  ment prior to the court hearing.
       (9) The petition shall: .
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    10-1310                  CHILDREN AND CHILD WELFARE

        (a) state the nature of the alleged abuse, neglect, or dependency;
        (b) state the full name, age, and address of the youth and the name
    and address of his parents or guardian or person having legal custody of
    the youth;
        ( c) state the names, addresses, and relationship to the youth of all
    persons who are necessary parties to the action.
        (10) The petition may ask for the following relief:
        (a) temporary investigative authority and protective services;
        (b) temporary legal custody;
        (c) limited legal custody;
        ( d) permanent legal custody, including the right to consent to adop-
    tion;
        ( e) appointment of guardian ad litem;
        (f) any combination of the above or such other relief as may be re-
    quired for the best interest of the youth.
        (11) The petition may be modified for different relief at any time
    within the discretion of the court.
        (12) The court may at any time on its own motion or the motion of
    any party appoint a guardian ad litem for the youth or counsel for any
    indigent party.
        (13) This section does not apply to a petition for temporary investiga-
    tive authority and protective services.
      History: En. 10-1310 by Sec. 6, Oh. 328,      Constitutionality
    L. 1974; amd. Sec. 20, Ch. 100, L. 1977.        Fact that under subsection (12) the ap-
      Amendments                                 pointment of separate counsel for the
                                                 child in a dependent and neglected child
       The 1977 amendment substituted "or"       proceeding is discretionary, not manda-
    for "and" near the end of the fi rst sen-    tory, does not render the provision viola-
    tence of subsection (1); inserted "par-      tive of due process. Stubben v. Flathead
    ents or" after "parent's" in subsection      County Department of Public Welfare, -
    (6 ); inserted "ancl the name and address    1\1 -, 556 r 2d 904.
    of" in subdivision (9) (b); and made mi-
    nor changes in phraseology, punctuation
    and style.

                              DECISIONS UNDER FORMER LAW
       Jurisdiction Based on Service              reservation and abandoned outside the
       District court had jurisdiction over peti- reservation, district court for the county
    tion by state seeking p·ermanent custody where the child was found could take juris-
    and right to consent to adoption of three diction and provide for the child despite
    children despite the facts that proper the fact that the mother remained on
    citation was not issued or served on the      the reservation and committed no acts of
    parents, where father of one of the chil- neglect outside the reservation. In re
    dren had consented to the proceeding, Cantrel1, 159.M 66, 495 P 2d 179.
    father of other two children was deceased,
    mother who was represented by eounsel           Temporary Custody
    appeared at the hearing voluntarily and         Where petitioners had requested tempo-
    the hearing on the petition in question was rary custody of neglected children, and no
    preceded by a series of hearings and post- petition had been filed by the welfare de-
    ponements regarding temporary eustody partment for permanent custody, the court
    of the children. Bonser v. County of was without authority to enter an order
    Caseade, - M - , 507 P 2d 1064.               of permanent custody. Flathead County
                                                  Welfare Department v. Endres, - M - ,
       Residence                                  533 P 2d 959.
       Where child was taken from Indian
                                             456
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                  ABUSED, NEGLECTED AND DEPENDENT YOUTH                         10-1311
     10-1311. Petition for temporary investigative authority and protective
  services. (1) In cases where it appears that a youth is abused or neg-
  lected or is in danger of being abused or neglected, the county attorney
  may file a petition for temporary investigative authority and protective
  services.
      (2) A petition for temporary investigative authority and protective
  services shall state the specific authority requested and the facts estab-
  lishing probable cause that a youth is abused or neglected or is in danger
  of being abused or neglected.
      (3) The petition for temporary investigative authority and protective
  services shall be supported by an affidavit signed by the county attorney
  or a department of social and rehabilitation services report stating in
  detail the facts upon which the request is based.
     ( 4) (a) Upon the filing of a petition for temporary investigative
  authority and protective services, the court may issue an order granting
  such relief as may be required for the immediate protection of the youth.
      (b) The order shall be served by a peace officer or a representative
  of the department of social and rehabilitation services on the person or
  persons named therein.
      (c) The order shall require the person served to comply immediately
  with the terms thereof or, upon failure to so comply, to appear before
  the court issuing the order on the date sprcifird and show cause why he
  has not complied with the order. Except as otherwise provided herein,
  the rules of civil procedure shall apply.
      (d) Upon a failure to comply or show cause the court may hold the
  person in contempt or place temporary legal custody of the youth with
  the department of social and rehabilitation services until further order.
      (5)   The court may grant the following kinds of relief:
      (a) right of entry by a peace officer or department of social and re-
  habilitation services worker;
      (b) medical and psychological evaluation of youth or parents, guard-
  ians, or person having legal custody;
      ( c) require the youth, parents, guardians, or person having legal
  custody to receive counseling services;
      (d) place the youth in temporary medical facility or facility for pro-
  tection of the youth;
      ( e) require the parents, guardian, or other person having custody to
  furnish such services as the court may designate;
      (f) such other temporary disposition as may be required in the b<'st
  interest of the youth.
    History: En. 10-1311 by Sec. 7, Ch. 328,   er!'nces to department of social and rr-
  L. 1974; amd. Sec. 21, Ch. 100, L. 1977.     hahilitation s<'rvices for state soeial and
                                               rehabilitation se1·vices; and made minor
    Amendments                                 ehanges in phraseology, punctuation an cl
    The 1977 amendment substituted ref-        style.

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    10-1312                  CHILDREN AND CHILD WELFARE

        10-1312. Hearing. (1) In a hearing on a petition under section 10-
    1310, R. C. M. 1947, the court shall determine whether said youth is an
    abused, neglected or dependent child, and ascertain, as far as possible, the
    cause thereof.
        (2) The court shall hear evidence regarding the residence of the child,
    whereabouts of the parents, guardian or nearest adult relative, the :financial
    ability of any such parents or parent, to pay the cost of care of the child,
    whether or how long the child has been maintained in whole or in part
    by public or private charity, and may take into consideration the report of
    the county welfare department filed with the clerk of the court, pursuant
    to section 10-1313, R. C. M. 1947.
        (3) In all civil and criminal proceedings relating to abuse, neglect or
    dependency the doctor-patient privilege and husband-wife privilege shall
    not apply to the extent any testimony relates to such matters.
      History: En. 10-1312 by Sec. 8, Ch. 328,
    L. 1974,


        10-1313. Investigation of parents' financial ability. Whenever any
    petition is filed with the clerk of the district court alleging abuse, neglect
    or dependency, the clerk of such court shall immediately deliver to the
    county welfare department of the county in which the petition is filed, a
    copy of the petition with a notation thereon giving the day and time :fixed
    by the court for hearing the petition. Upon receipt of such copy of petition
    the county welfare department shall make an investigation for the purpose
    of ascertaining whether the parent or parents, if any, of the child live
    within the county and the :financial ability of such parent or parents, if
    any, to pay the cost of supporting the child in a foster home, and shall
    file with the clerk of such court, before the time :fixed for the hearing, a
    written report of such investigation. If, upon hearing, the court :finds and
    determines that the child has parents, or a parent, who is :financially able
    to pay a part or the whole of such cost, and the child is ordered placed
    in a foster home, the court shall make ari order requiring such parents,
    or parent, to pay such amount as the court may deem proper. A copy of
    the written report shall be provided to all parties to the proceeding
    before the time filed for hearing.
        If the child is placed in a foster home, the state department of social
    and rehabilitation services shall pay one-half (½) of the cost thereof, and
    the county in which such child has residence shall pay the other one-half
     (½) thereof. Any amount collected from a parent or parents, when a child
    is placed in a foster home, shall be transmitted to the state department of
    social and rehabilitation services. The department shall then pay to the
    county one-half (½) of the amount so collected.
      History: En. 10-1313 by Sec. 9, Ch. 328,
    L. 1974.


       10-1314. Judgment. (1) If a youth is found to be abused, neglected,
    or dependent, the court may enter its judgment making any of the follow-
    ing dispositions to protect the welfare of the youth:
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                        ABUSED, NEGLECTED AND DEPENDENT YOUTH                                                 10-1314

      (a) permit the youth to remain with bis parents or guardian subject
  to those conditions and limitations the court may prescribe;
      (b) transfer legal custody to any of the following :
      (i) department of social and rehabilitation services;
      (ii) a child-placing agency willing and able to assume responsibility
  for the education, care and maintenance of the youth and which is licensed
  or otherwise authorized by law to receive and provide care of the youth; or
      (iii) a relative or other individual who, after study by a social service
  agency designated by the court, is found by the court to be qualified to
  receive and care for the youth;
      (c) order any party to the action to do what is necessary to give
  effect to the final disposition, including undertaking medical and psycho-
  logical evaluations, treatment and counseling;
      (d) order such further care and treatment as the court may deem in
  the best interest of the youth.
      (2) Whenever the court vests legal custody in any agency, institution
  or department it shall transmit with the dispositional judgment copies of
  any medical report, and such other clinical, predisposition or other reports
  and information as may be pertinent to the care and treatment of the
  youth.
      (3) Any youth found to be abused, neglected or dependent may be
  committed to the Montana children's center, and if the center is unable to
  receive the child, or if, for any other reason, it appears to be in the best
  interest of the child, the court may make such other disposition of the
  child as the court deems best for his social and physical welfare. 'I'he form
  of commitment shall be as follows:
                             ORDER OF COMMITMENT
     State of Montana1 County of .................... ss:
     In the District Court for the .................... Judicial District.
     On the ............ day of ........ , 19 ........................ minor of this county, was
  charged on the petition of .................... of county attorney of ....................
  county, with being an abused or neglected or dependent child. Upon due
  proof I find that it is for the best interests of the child that he be taken
  from the custody of his parents, guardian or other person having custody
  of him.
     The names, addresses and occupations of the parents are:
                  Name                    Address                      Occupation


  The child's guardian is .......... •.......................... ••...........................: .......................... .
  The child is in the custody of .................................................................................. .
  It is ordered that .................... be committed to .................... until discharged
  as provided by law.
      Witness my hand this ............ day of ··············-····· A.D. 19.... ,

                                                                                         Judge
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   10-1315                  CHILDREN AND CHILD WELFARE

       ( 4) Transfer of legal custody of a child shall include guardianship of
   any assets or estate of the child, unless otherwise specified by the court.
       (5) Except in cases in which the court permanently terminates all
   parental rights or rights of the guardian of the youth, the court shall
   retain jurisdiction over the case and may subsequently modify any dispo-
   sition ordered pursuant to this section.
     History: En. 10-1314 by Sec. 10, Oh. 328,
   L. 1974.

                            DECISIONS UNDER FORMER LAW
     Child's Best Interests                       by undue influence does not necessarily
     Once a child has been found dependent        invalidate a judgment awarding perma-
   and neglected, the primary concern is for      nent custody to the welfare department
   the child's best interests and welfare, not    with the power to consent to adoption. In
   that of the mother, and the fact that the      re Bad Yellow Hair, - M - , 509 P 2d
   mother's consent may have been obtained        9, 12.

       10-1315. Responsibility of providing protective services. The depart-
   ment of social and rehabilitation services and the county welfare depart-
   ment shall have the primary responsibility to provide the protective serv-
   ices authorized by this act and shall have the authority pursuant to this
   act to take temporary, limited or permanent custody of a child when or-
   dered to do so by the court, including the right to give consent to adoption.
     History: En. 10-1315 by Sec. 11, Oh. 328,
   L. 1974.

   10-1316.    [Transferred from Chapter 5.]
     Compiler's Notes                             there has been no change in text, the
     This section was originally numbered         section is not reprinted here but may be
   10-520. Section 14, Ch. 328, Laws of 1974      found in bound Volume 1, part 2, as sec.
   renumbered it to appear here. Because          10-520.

       10-1317. License required. No person shall maintain or operate a foster
    or boarding home for any child or children within the meaning of this act
    without first securing a license in writing from the state department of
    social and rehabilitation services. No fee shall be charged for such license.
     History: En. Sec. 2, Ch. 178, L. 1947;         Amendments
   amd. Sec. 47, Oh, 121, L. 1974; Sec. 10-521,     The 1974 amendment substituted "state
   R. 0. M. 1947; redes. 10-1317 by Sec. 14,      department of social and rehabilitation
   Oh, 328, L. 1974.                              services" for "state department of public
                                                  welfare."

        10-1318. Issuance of license-authority of issuing agency. The state
    department of social and rehabilitation services is hereby authorized to
    issue licenses to persons conducting boarding or foster homes and to
    prescribe the conditions upon which such licenses shall be issued, and
    making such rules and regulations as it may deem advisable for the opera-
    tion and regulation of foster and boarding homes for minor children con-
    sistent with the welfare of such children. Such licensing agency shall have
    the power and authority to inspect all such licensed foster and boarding
    homes through its duly authorized representatives and to cancel licenses
    theretofore issued for the failure to observe such rules and regulations.
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   The person operating such homes shall give to such representative such
   information as may be required and afford them every reasonable facility
   for observing the operation of such homes.
     History: En. Sec. 3, Oh. 178, L. 1947;        state department of soeial and rehabilita-
   amd. Sec. 47, Oh. 121, L. 1974; Sec. 10-522,    tion serviees" for "The division of child
   R. O. M. 1947; redes. 10-1318 by Sec. 14,       welfare serviees of the state department
   Ch, 328, L. 1974,                               of publie welfare" at the beginning of
                                                   the section.
     Amendments
     The 1974 amendment substituted "The

   10-1319. [Transferred from Chapter 5.]
     Compiler's Notes                              there has been no change in text, the see·
     This section was originally numbered          tion is not reprinted here but may be
   10-523. Seetion H, Ch. 328, Laws of 1974        found in bound Volume 1, part 2, as sec.
   renumbered it to appear here, Because           10-523.

      10-1320. Payment for support of dependent and neglected children-
   reimbursement by county. (1) Whenever agreements are entered into by
   the department of social and rehabilitation services for placing dependent
   and neglected children in approved family foster homes or licensed private
   institutions, the department shall pay by its check or draft each month
   from any funds appropriated for that purpose the entire amount agreed
   upon for board, clothing, personal needs, and room of such children.
       (2) On or before the 20th of each month the department shall present
   a claim to the county of residence of such children for one-half the pay-
   ments so made during the month. 'fhe county must make reimbursement
   to the department within 20 days after such claim is presented.
     History: En. Sec, 1, Ch. 48, L. 1949;            The 1974 amendment substituted "state
   amd. Sec. 1, Ch. 194, L. 1965; amd. Sec.         department of social and rehabilitation
   1, Ch. 264, L. 1971; amd, Sec. 48, Ch. 121,      services" for "department of publie wel-
   L. 1974; Sec. 10-524, R. O. M. 1947; redes.      fare" in the first paragraph.
   10-1320 by Sec. 14, Ch. 328, L. 1974; amd.         The 1977 amendment inserted the sub-
   Sec, 22, Ch. 100, L. 1977.                       section designations; and made minor
     Amendments                                     changes in phraseology, punctuation and
                                                  . style.
     The 1971 amendment inserted "clothing,
   personal needs" near the end of the first
   paragraph.

      10-1321. Recovery from pa.rents-division between state and county.
    In the event any recovery is made from the parent or parents of children
    for whom board, clothing, personal needs and room has been paid by the
  • state and county any amount so recovered shall be divided equally between
    the state department and the county of residence of such child or children.
     History: En. Sec. 2, Oh. 48, L. 1949;           Amendments
   amd. Sec. 1, Ch. 264, L. 1971; Sec, 10-625,       The 1971 amendment inserted "clothing,
   R. o. M. 1947; redes. 10-1321 by Sec. 14,       personal needs."
   Ch, 328, L. 1974.

      10-1322. Punishment of parents and other adults. (1) If the evi-
   dence indicates violation of the Criminal Code, it shall be the responsibility
   of the county attorney to file appropriate charges against the alleged of-
   fender.
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    10-1401                  CHILDREN AND CHILD WELFARE

        (2)    District court shall have original jurisdiction under this section.
      mstory: En. 10-1322 by Sec. 12, Ch. 328,        Repealing Clause
    L. 1974.                                        • Section 13 of Ch. 328, Laws 1974 read
                                                   "Sections 10-501 through 10-519, R. C. M.
                                                   1947, are repealed."


        CHAPTER 14-INTERSTATE COMPACT ON PLACEMENT OF CHILDREN
    Section
    10-1401.   Enactment-provisions.
    10-1402.   Financial responsibility.
    10-1403.   Appropriate public authorities defined.
    10-1404.   Appropriate authority in the receiving state.
    10-1405.   Agreements.
    10-1406.   Requirements for visitation, inspection and supervision.
    10-1407,   Certain laws not applicable.
    10-1408.   Court jurisdiction retained.
    10-1409.   Executive head defined.

        10-1401, Enactment-provisions. The interstate compact on the
    placement of children is hereby enacted into law and entered into with
    all other jurisdictions legally joining therein in the form substantially as
    follows:
       Article I. Purpose and Policy
       It is the purpose and policy of the party states to co-operate with each
    other in the interstate placement of children to the end that:
        (a) Each child requiring placement shall receive the maximum op-
    portunity to be placed in a suitable environment and with persons or
    institutions having appropriate qualifications and facilities to provide a
    necessary and desirable degree and type of care.
        (b) The appropriate authorities in a state where a child is to be placed
    may have full opportunity to ascertain the circumstances of the proposed
    placement, thereby promoting full compliance with applicable require-
    ments for the protection of the child.
        (c) The proper authorities of the state from which the placement is
    made may obtain the most complete information on the basis of which
    to evaluate a projected placement before it is made.
        ( d) Appropriate jurisdictional arrangements for the care of children
    will be promoted.
       Article II. Definitions
       As used in this act :
        (a) "Child" means a person who, by reason of minority, is legally
    subject to parental, guardianship or similar control.
        (b) "Sending agency" means a party state, officer or employee there-
    of; a subdivision of a party state, or officer or employee thereof; a court
    of a party state; a person, corporation, association, charitable agency or
    other entity which sends, brings, or causes to be sent or brought any child
    to another party state.
        ( c) "Receiving state" means the state to which a child is sent, brought,
    or caused to be sent or brought, whether by public authorities or private
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